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FOR THE wEsTERN DISTRICT oF TENNESSEE §5§`§25 §§ i

IN THE UNI'I`ED STA'I'ES DISTRICT COURT

WES'I`ERN DIVISION
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z."JF"! \’"]Sl' T,"l_ f-N___‘

PHILLIP E. BOYNTON, et al.,
Plaintiffs,
v.

NO. 02-llll Ml/An

HEADWATERS, iNc., et el.,

§.,~_¢~__/~_,~_/-_/~_/-_z-~_/

Defendants.

 

COURT ORDERED COURT-ANNEXED MEDIATION

 

Pursuant to discussion during the telephone status conference
held in this case on Thursday, April 21, 2005, the Court hereby
refers the case for mediation through the court-annexed mediation
program in order for the parties to attempt to achieve a settlement

of the issues.

Mediation is a non-binding process conducted with the
assistance of a neutral mediator. Mediation will be confidential
and privileged from process and discovery. Following mediation,
the court will be advised_ by written report from the court"
appointed mediator that the parties did or did not settle the case,
and whether further mediation is planned or recommended. Should
the case not settle and the matter proceed to litigation, the
court-appointed mediator shall not be a witness, nor shall the

mediator's records be subpoenaed or used as evidence. No

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subpoenas, citationsr writs, or other process shall be served at or
near the location of any mediation session, upon any person

entering, leaving, or attending any mediation session.

Pursuant to the local rule on mediation and the procedures
adopted by the court as described in the Mediation Program Plan for
the United. States District Court for the Western District of
Tennessee, the court clerk will provide to each counsel a list of
five court~certified mediators randomly selected from the court's
mediation panel. The parties may proceed by either a strike system
or by agreement to select a mediator. If the parties are unable to
agree on a mediator for this case, they are directed to promptly

advise the court and the court will resolve the matter.

THE GENERAL RULES GOVERNING Tl-IE MEDIATION CONFERENCE SHALL BE
AS FOLLOWS:

(a) The Mediation Program Coordinator (Office of the Clerk of
Court, United States District Court for the Western District of
Tennessee) shall provide the mediator a copy of this Order and a
copy of the complaint and answer within three (3) days of
notification of selection of the mediator by the parties. The
mediator will promptly review these documents to determine whether
to accept the mediation assignment. If the mediator agrees to

mediate the case, the mediator will notify the parties, through

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counsel, and the Mediation Program Coordinator of the scheduled
mediation. conference. If, however, the mediator' declines the
assignment, the mediator shall immediately notify the Mediation
Progran\ Coordinator of same and the parties will be afforded

another opportunity to jointly select a mediator.

(b) Each party must be represented by a person with full
authority to negotiate a complete compromise and settlement. Such
persons shall be present during the entire mediation process.
Failure of any party to have an authorized individual present at
the mediation may result in the assessment of expenses, costs, and
fees for all other attending parties. The participants shall

exercise their best efforts to settle the case.

(C) THE PARTIES SI-IALL PREPARE A BRIEF WRITTEN SUMMARY OF 'l`I-IE
FACTS AND ISSUES which shall be provided the mediator not less than
ten (lO) days before the scheduled conference. All discussions,
representations and statements made at the mediation conference
SHALL BE PRIVILEGED as settlement negotiations and nothing related
to the conference shall be admitted at trial as evidence or subject

to discovery. ee Federal Rule of Evidence 408.

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(d) Counsel and parties, in consultation with the mediator,
shall agree upon a mediation date within sixty (60) days from the
entry of this order. If no agreed date can be scheduled within
sixth (60) days from the entry of this order, then the mediator
shall select a date within the sixth (60) days, and all parties
shall appear as directed by the mediator. The location of the

mediation conference shall be established by the mediator.

In the event it shall become impossible for an attorney or a
party' to attend. the conference as scheduled, coordination for
rescheduling shall be done through the mediator, and the mediator
shall advise the court's Mediation Program Coordinator of the new

mediation conference date.

In any event, the mediation shall be conducted. prior to
Friday, June 17, 2005. Failure to mediate will not be considered

cause for the continuance of the trial date. Referral to mediation

is not a substitute for trial and the case will be tried if not

settled. The conditions stated in this Order will remain in
effect.
(e) The mediator shall make a report to the court, through

the Mediation Program Coordinator, of the results of the mediation
conference within ten (10) days of the conclusion thereof. If, in

the opinion of the mediator, the mediation process necessitates

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more than one mediation conference, the mediator shall submit a
mediation conference report within ten (lO) days of each successive

conference.

(f) The mediator shall be compensated in accordance with the
fee arrangement detailed in the Agreement to Mediate (an attachment
to the proposed Mediation Program), the costs of mediation being
borne equally by the parties, unless otherwise agreed to by the

parties and approved by the court.

IT Is so oRDERED this é gac-ly of Aprii, 2005.

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JO P. MCCALLA
U'N TED STATES` DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 354 in
case 1:02-CV-01111 Was distributed by faX, mail, or direct printing on
Apri129, 2005 to the parties listed.

 

 

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Honorable J on McCalla
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